            Case 8:20-cv-02042-TDC Document 19 Filed 10/15/20 Page 1 of 3



                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND

CATHOLIC LEGAL IMMIGRATION             )
NETWORK, INC., et al.,                 )
                                       )
    Plaintiffs,                        )
                                       )
    v.                                 )               Civil Action No. 8:20-cv-02042-TDC
                                       )
UNITED STATES CITIZENSHIP AND          )
IMMIGRATION SERVICES, et al.,          )
                                       )
    Defendants.                        )
______________________________________ )

                                      JOINT STATUS REPORT

   In accordance with the parties’ proposal to submit a joint status report on a monthly basis

beginning October 15, 2020, as stated in their Joint Motion to Stay All Proceedings filed on

September 28, 2020 (ECF No. 18 at 6), the parties, by and through undersigned counsel, hereby

file this Joint Status Report, and state as follows:

       1.       Catholic Legal Immigration Network, Inc., Alianza Americas, and National TPS

Alliance (Plaintiffs) commenced the instant action against the United States Citizenship and

Immigration Services (USCIS), United States Department of Homeland Security (DHS), and

United States Department of State (State), (collectively, Defendants) to compel compliance with

the Freedom of Information Act (FOIA). Specifically, the Complaint seeks responses to three

separate FOIA requests submitted to USCIS (“Request 1”), State (“Request 2”), and DHS

(“Request 3”) respectively. (Compl. ¶¶ 27-40.)

       2.       The parties are currently engaging in discussions regarding the possible narrowing

or prioritization of Plaintiffs’ FOIA requests. Pursuant to Plaintiffs’ requests for information

regarding possible methods of narrowing or prioritizing, Defendants have provided Plaintiffs

with information about their processing capabilities to assist Plaintiffs in determining any
            Case 8:20-cv-02042-TDC Document 19 Filed 10/15/20 Page 2 of 3



potential narrowing or prioritization proposals. Defendant USCIS has represented that it can

prioritize the release of documents by component office within USCIS. Defendants have

provided Plaintiffs the names of seven components within USCIS – OPQ (Office of Performance

and Quality); IRIS/E-VERIFY (Immigration Records and Identity Services); OCC (Office of

Chief Counsel); OIDP (Office of Intake and Document Production); SCOPS (Service Center

Operations); OP&S (Office of Policy and Strategy); RAIO (Refugee, Asylum and International

Operations) – and the number of potentially responsive pages within each component. Parties

continue to confer on means of narrowing or prioritizing.

       3.       USCIS has located approximately 19,041 pages potentially responsive to Request

1. USCIS’s processes include de-duplication, but USCIS cannot guarantee that no duplicates

will be included in its produced pages. USCIS intends to make productions on a rolling basis.

The first production of USCIS pages, subject to FOIA exemptions, is expected to be made on

November 6, 2020. USCIS will make a good faith effort to process approximately 500 pages for

this initial production. USCIS intends to process approximately 500 pages each month thereafter

until all responsive, non-exempt pages have been processed.

       4.       State has, thus far, identified approximately 8,500 unclassified documents

potentially responsive to Request 2. State is continuing to collect unclassified potentially

responsive documents. Once it has completed collection of potentially responsive unclassified

documents, State will de-duplicate the collected documents and begin making productions on a

rolling basis. The first production will be made, subject to FOIA exemptions, approximately six

weeks following the completion of its collection process. State will make a good faith effort to

process at its pre-pandemic standard processing rate of 300 pages per month. While searches for

records on classified systems are not currently possible due to the ongoing impact of COVID-19



                                                   2
            Case 8:20-cv-02042-TDC Document 19 Filed 10/15/20 Page 3 of 3



mitigation measures on staffing, State will initiate searches of classified systems promptly upon

the relevant employees re-obtaining access to those systems.

       5.       Defendant DHS has produced 62 pages which they have represented are all

responsive documents to Request 3. Plaintiffs reserve their right to challenge both the scope of

the production and the claimed exemptions of the DHS disclosure.

Dated: October 15, 2020                      Respectfully submitted,


                                             ____/s/______________________
                                             Khaled Alrabe
                                             Amber Qureshi
                                             National Immigration Project of the
                                             National Lawyers Guild
                                             2201 Wisconsin Ave., NW Suite 200
                                             Washington, DC 20007
                                             Tel: (510) 679-3994
                                             alrabe@nipnlg.org
                                             amber@nipnlg.org

                                             ____/s/______________________
                                             Victoria Neilson
                                             Michelle N. Mendez
                                             Catholic Legal Immigration Network (CLINIC)
                                             8757 Georgia Ave., Suite 850
                                             Silver Spring, MD 20910
                                             Tel: (540) 907-1761
                                             Fax: (301) 565-4824
                                             vneilson@cliniclegal.org
                                             mmendez@cliniclegal.org

                                             Robert K. Hur
                                             United States Attorney

                                             ____/s/______________________
                                             Kimberly S. Phillips
                                             Assistant United States Attorney
                                             36 S. Charles St., 4th Flr.
                                             Baltimore, MD 21201
                                             Tel: (410) 209-4800
                                             Kimberly.Phillips@usdoj.gov



                                                  3
